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                     EXHIBIT 1
Case 3:19-cv-01301-CAB-DEB
           Case 3:14-cv-03985-JD
                              Document
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                            Civil Minutes


  Date: September 30, 2016                                               Judge: Hon. James Donato

  Time: 20 Minutes

  Case No.        C-14-cv-03985
  Case Name       Telesocial, Inc. v. Orange S.A., et al

  Attorney(s) for Plaintiff(s):    Todd Briggs/Edward DeFranco/David E. Myre
  Attorney(s) for Defendant(s):    Anthony D. Mirenda/Michael H. Page/Daniel Schimmel

  Deputy Clerk: Lisa Clark

                                           PROCEEDINGS

  Telephonic Discovery Hearing re Dkt. Nos. 156, 157, 160, 161 and 164 (Not Reported) - held

                             NOTES AND ORDERS OF THE COURT

          The Court and parties discussed Orange’s discovery dispute letters (Dkt. Nos. 156 and
  157).

           Orange’s proposed relief related to the Attali’s deposition is denied. Dkt. No. 156. Attali
  is a third-party witness that Telesocial does not control and with whom Telesocial’s lawyers have
  had no substantive communications. Telesocial states that it has provided all of the contact
  information that it has for Attali, although somewhat on the late side. There is no evidence that
  Telesocial is doing anything inappropriate with this witness or deposition. The Court will amend
  the scheduling order to give additional time to finish discovery in light of this and other delays.

          Orange’s request for documents and communications between Telesocial and a litigation
  funder is denied. Dkt. No. 156. Orange did not show any relevance to the claims. In addition,
  Telesocial states that the funder was not engaged until after the lawsuit was filed and that the
  parties agreed that post-filing communications of this sort would be deemed to be work product.
  The parties are reminded that, separate and apart from this issue, they must comply with the
  disclosure required by Civil Local Rule 3-15.

          Orange’s request to strike Telesocial’s amended interrogatory responses about its trade
  secrets is denied without prejudice to renewal. Dkt. No. 157. Orange contends that Telesocial
  has changed its trade secret designations to fit the facts emerging from discovery. The
  interrogatory responses show some changes, but it is not possible to tell at this time whether they

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  are clarifications, as Telesocial says, or wholesale alterations, as Orange argues. This issue is
  deferred until the close of discovery, and Orange may raise it at summary judgment if it believes
  the evidence warrants that.

         The parties will advise the Court on their preference for mediators within 60 days.




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                                              Exhibit 1
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